Case 6:12-cV-01928-RBD-G.]K Document 20 Filed 09/20/13 Page 1 of 2 Page|D 238

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO D`IVISION
EXPPHA, LLC f/lda PREFERRED
PHYSICIANS HEALTHCARE
ALLIANCE, L.C.,
Plaintiff,
VS- Case No. 6:12~cv~01928~RBD-GJK

 

KEPRO ACQUISITIONS, INC.,

Defendant.

 

ME})IATION REPORT
In accordance With the Court’s mediation order(s), a mediation conference
Was held on August 27, 2013, and the results of that conference are indicated
beloW:
1. Under rule l.730(b), the mediator has been authorized to report that 1
after a mediation session, a settlement of ali issues Was reached
CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on the 20th day of Septernber, 2013, l served the
foregoing document Via enlaii to:

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Florida Bar No. 604410

Ryan D. i\/Iaxey

Florida Bar No. 059283
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/s/ David W. Henrv

David HenryF Mediator

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Page 2 of 2 Page|D 239

